232 F.2d 687
    98 U.S.App.D.C. 130
    UNITED ELECTRICAL, RADIO AND MACHINE WORKERS OF AMERICA(UE), on its own behalf and on behalf of itsaffiliated local unions, et al., Appellants,v.Herbert BROWNELL, Jr., Attorney General of the UnitedStates, et al., Appellees.
    No. 12943.
    United States Court of Appeals District of Columbia Circuit.
    Argued March 5, 1956.Decided April 5, 1956.
    
      Mr. David Scribner, New York City, of the bar of the Court of Appeals of New York, pro hac vice, by special leave of Court, for appellants.  Messrs. Joseph Forer and David Rein, Washington, D.C., also entered appearances for appellants.
      Mr. Edward H. Hickey, Atty., Dept. of Justice, with whom Messrs. Leo A. Rover, U.S. Atty., and Paul A. Sweeney and Howard E. Shapiro, Attorneys, Dept. of Justice, were on the brief, for appellees.
      Before EDGERTON, Chief Judge, and FAHY and WASHINGTON, Circuit judges.
      PER CURIAM.
    
    
      1
      Appellants' complaint asks a declaration that Sections 5 through 11 of the Communist Control Act of 1954, 68 Stat. 775, (50 U.S.C.A. 782, 784, 789, 791, 792a, 793, 844,) are invalid, and an injunction to restrain the Attorney General and the Subversive Activities Control Board from enforcing these sections against the plaintiff Union.  The complaint says the Attorney General threatened to enforce them immediately, by filing a petition with the Board, and that irreparable harm to the Union and its members would result.
    
    
      2
      The plaintiffs appeal from a summary judgment for the defendants.  Pending the appeal, the Attorney General petitioned the Board 'for an order, after appropriate proceedings, determining that the United Electrical, Radio and Machine Workers of America is a Communist-infiltrated organization as defined by Section 3 of the Subversive Activities Control Act of 1950, as amended by the Communist Control Act of 1954.'
    
    
      3
      We see no pertinent exception to the usual rule that a court will not interfere with administrative proceedings, which are not on their face incapable of affording due process, before final administrative action adverse to the complainant has been taken.  Communist Party v. McGrath, D.C., 96 F.Supp. 47.
    
    
      4
      Affirmed.
    
    